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   5
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   6

   7                                 UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
   8
        JOANN K. MURRAY,                              Case No. 2:19-cv-04198-RSWL-SS
   9
                           Plaintiff,                 JOINT RULE 26(f) REPORT
  10
                v.
  11

  12    DISCOVER FINANCIAL SERVICES;
        EQUIFAX INFORMATION SERVICES,
  13    LLC; EXPERIAN INFORMATION
        SOLUTIONS, INC.; and TRANSUNION,
  14    LLC,
  15                       Defendants.
  16
       a.     Statement of the case:
  17

  18   Plaintiff: From September 2017 to July 2018, approximately $6,693.00 in charges were made in

  19   Plaintiff’s name. On October 2, 2018, Plaintiff initiated a bankruptcy case by filing a voluntary
  20   petition for relief under Chapter 7 of the United States Bankruptcy Code. The schedules filed by
  21
       Plaintiff listed Discover on Schedule E/F: Creditors Who Have Unsecured Claims. On January 8,
  22
       2019, the Bankruptcy Court entered an Order of Discharge for the benefit of Plaintiff under 11
  23
       U.S.C. § 727. Plaintiff’s Order of Discharge by operation discharged Plaintiff from, inter alia, any
  24

  25   personal liability on the indebtedness owed to Discover. On February 15, 2019, Plaintiff obtained

  26   credit reports from Equifax, Experian and TransUnion. Plaintiff discovered that Discover wrongly

  27   reported Plaintiff’s account as “[a]ccount paid less than full balance/charged off account.”
  28
                                                         1
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   1   Moreover, Plaintiff discovered that Discover did not reference Plaintiff’s account as “discharged
   2   in bankruptcy.” On February 26, 2019, Plaintiff mailed credit dispute letters to Equifax, Experian
   3
       and TransUnion by United States Postal Service First Class Mail®. Plaintiff’s dispute results
   4
       wrongly showed Plaintiff’s account as “Charge[d] Off.” Furthermore, Plaintiff’s dispute results
   5
       did not mention Plaintiff’s account as “discharged in bankruptcy.”
   6

   7   Discover: Contrary to Plaintiff’s allegations, on July 31, 2018, Plaintiff made a payment to Discover

   8   to settle the debt she owed in connection with her credit card account. Because Plaintiff did not

   9   pay the entire amount owed, a portion of the debt was written off by Discover and the account was
  10
       closed. On October 2, 2018, less than 90 days after Plaintiff made the payment and her account
  11
       was closed, 1 Plaintiff filed for bankruptcy pursuant to Chapter 7 of the United States Bankruptcy
  12
       Code. But because the account at issue had already been settled and closed, Plaintiff’s filing for
  13
       bankruptcy, and the ultimate discharge of debt through her bankruptcy, had no impact on the
  14

  15   account. Moreover, and because Plaintiff failed to pay the full amount that she owed to Discover,

  16   part of the debt was in fact written off as bad debt, or “charged off.” Because there is nothing
  17   inaccurate with the information furnished by Discover, Discover denies that it violated the FCRA
  18
       and further denies that Plaintiff is entitled to any relief whatsoever.
  19
       Equifax: Equifax is a consumer reporting agency, as that term is defined in the FCRA, and is
  20
       regularly engaged in the preparation of consumer credit reports. Equifax maintains reasonable
  21

  22   procedures designed to assure the maximum possible accuracy of the information it reports about

  23   consumers. Equifax denies that it violated the FCRA in its handling of Plaintiff’s credit file and

  24   that it is liable to Plaintiff in any manner whatsoever.                      Even if Plaintiff has suffered any
  25   compensable damages, Equifax is not responsible for the injuries of which Plaintiff complains and
  26
       is without fault concerning all claims and theories upon which Plaintiff relies.
  27

  28   1
           Although not at issue here, Plaintiff failed to disclose this payment within her bankruptcy filings.
                                                                      2
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   1   Experian: Experian denies Plaintiff’s claims. This is a credit reporting case under the federal Fair
   2   Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq. Experian is a consumer reporting agency
   3
       as that term is defined by the FCRA. Experian followed reasonable procedures to ensure the
   4
       maximum possible accuracy of the information on Plaintiff’s credit reports and conducted a
   5
       reasonable reinvestigation into Plaintiff’s disputes when required to do so. Experian was not a
   6

   7   creditor nor a party to Plaintiff’s bankruptcy proceedings. At all times, Experian acted in good

   8   faith and without malice or intent to injure Plaintiff, and did not act negligently. Therefore,

   9   Experian has no liability in this case. Experian further denies that Plaintiff suffered any actual
  10
       damages.
  11
       b.     Subject Matter Jurisdiction: Plaintiff alleges that the Court has subject matter jurisdiction
  12
       pursuant to 28 U.S.C. § 1331.
  13
       c.     Legal issues:
  14

  15   As to Discover: The legal issues to be determined with respect to Plaintiff’s claim against Discover

  16   are: (1) whether there is any inaccuracy in the information furnished by Discover relating to the
  17   credit card account at issue; (2) to the extent there is any inaccuracy (which Discover denies),
  18
       whether Discover’s investigation in response to Plaintiff’s dispute was reasonable; (3) whether
  19
       Plaintiff was harmed by any alleged violation of the FCRA by Discover; and (4) whether this action
  20
       was brought and/or prosecuted by Plaintiff in bad faith entitling Discover to recover its attorneys’
  21

  22   fees and costs.

  23   As to Equifax and Experian: Equifax and Experian assert the primary legal issues include whether

  24   there was any violation of the FCRA, which Equifax and Experian deny, whether Plaintiff suffered
  25   any damage as a result of any alleged violation of the FCRA, whether Equifax or Experian
  26
       proximately caused Plaintiff’s alleged damages, whether Plaintiff is entitled to recover any actual
  27
       damages pursuant to 15 U.S.C. § 1681o, and whether Plaintiff is entitled to recover any statutory
  28
                                                         3
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   1   and/or punitive damages pursuant to 15 U.S.C. § 1681n.
   2   d.     Parties, Evidence, etc.:
   3
              •       Parties: Plaintiff, Discover, Equifax, Experian and Trans Union
   4
              •       Witnesses: Plaintiff, Discover, Equifax, Experian, Trans Union, any credit grantor
   5
                      who Plaintiff alleges denied her credit or otherwise injured her purportedly due to
   6

   7                  information received from the consumer reporting agencies.

   8          •       Evidence: Plaintiff’s bankruptcy documents; Plaintiff’s consumer disclosure(s);
   9                  Plaintiff’s credit file; Plaintiff’s credit report; Plaintiff’s credit dispute letter;
  10
                      Automated Consumer Dispute Verification Form (“ACDV”); Dispute Results
  11
       Discover: The relevant parties and witnesses are: (1) Plaintiff; (2) a witness or witnesses of
  12
       Discover to discuss the account at issue; (3) any third parties with knowledge of the account at
  13

  14   issue, including any third parties retained by Plaintiff to negotiate a settlement of debt owed on her

  15   account; and (4) the consumer reporting agencies. The relevant evidence will be: (1) the records

  16   of Discover relating to the account at issue; (2) Plaintiff’s credit file; (3) the various disputes
  17
       allegedly submitted by Plaintiff and any responses by Discover thereto; and (4) the records relating
  18
       to Plaintiff’s Chapter 7 bankruptcy.
  19
       e.     Damages: As result of Defendants’ alleged violation(s) of 15 U.S.C. § 1681 et seq., Ms.
  20
       Murray is seeking any actual damage sustained as result of such failure or damages of not less than
  21

  22   $100.00 and not more than $1,000.00; such amount of punitive damages as the court may allow;

  23   and in the case of any successful action to enforce any liability, the costs of the action together with
  24   reasonable attorney’s fees as determined by the court.
  25
       Discover: As set forth above, Discover denies that it violated the FCRA. Accordingly, Discover
  26
       denies that Plaintiff is entitled to any relief whatsoever. Further, the FCRA permits a prevailing
  27
       defendant to recover its fees where it can establish that a claim was filed and/or prosecuted in bad
  28
                                                           4
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   1   faith. Based on the facts known to Discover at this time, Discover reserves its right to pursue such
   2   a remedy and its damages are continuing to accrue.
   3
       Equifax: Equifax denies Plaintiff’s entitlement to any damages whatsoever. Equifax is not seeking
   4
       damages at this time but reserves the right to do so.
   5
       Experian: Since discovery has not yet commenced, Experian is unable to estimate Plaintiff’s range
   6

   7   of provable damages. Experian further denies that it was the proximate cause of any of Plaintiff’s

   8   alleged damages. Experian does not allege any damages at this time but reserves the right to do so.

   9   f.     Insurance:
  10
       Discover: At this time, Discover is unaware of any policy applicable to the allegations in the
  11
       Complaint. Should coverage status change, Discover will amend its disclosures.
  12
       Equifax: Equifax is self-insured in this matter.
  13
       Experian: Experian has no insurance that would be applicable to this case.
  14

  15   g.     Motions:

  16   Discover: At this time, Discover anticipates filing a motion for summary judgment seeking an
  17   adjudication of the legal issues it identified above.
  18
       Equifax: Depending on the information obtained in discovery, Equifax may file a motion for
  19
       summary judgement on liability and/or damages.
  20
       Experian: Experian does not anticipate filing any motions to add other parties or claims, to amend
  21

  22   its pleadings, or to transfer venue.

  23   h.     Manual for Complex Litigation: None.

  24   i.     Status of Discovery: None. The parties will exchange initial disclosures under Fed. R. Civ.
  25   P. 26(a)(1) on August 6, 2019.
  26
       j.     Discovery Plan:
  27
              (i)     what, if any, changes in the disclosures under Rule 26(a) should be made;
  28
                                                           5
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   1                   None.
   2           (ii)    the subjects on which discovery may be needed;
   3
                       The parties anticipate that discovery may be needed on the following subject(s):
   4
                       Plaintiff’s bankruptcy proceedings; furnishing/reporting of Plaintiff’s account;
   5
                       investigation conducted in response to Plaintiff’s credit dispute; Defendants’ credit
   6

   7                   dispute policies and procedures pertaining to processing consumer disputes; and

   8                   Plaintiff’s damages.

   9           (iii)   whether discovery should be conducted in phases or otherwise be limited;
  10
                       The parties do not believe that discovery should be conducted in phases or otherwise
  11
                       be limited.
  12
               (iv)    whether applicable limitations should be changed or other limitations imposed;
  13
                       None.
  14

  15           (v)     whether the Court should enter other orders;

  16                   Experian reserves the right to seek an appropriate protective order depending on the
  17                   nature and scope of Plaintiff’s discovery. Experian requires entry of a protective
  18
                       order to govern the use and disclosure of information that is deemed confidential,
  19
                       trade secret and/or commercially sensitive. Experian anticipates the parties will
  20
                       submit a proposed stipulated protective order for consideration and entry by the
  21

  22                   Court.

  23   k.      Discovery Cut-Off: January 30, 2020.

  24   l.      Expert Discovery: The parties do not believe that expert discovery will be required.
  25   m.      Dispositive Motions:
  26
       Discover: Discover anticipates filing a motion for summary judgment seeking an adjudication of
  27
       the legal issues it identified above.
  28
                                                          6
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   1   Equifax and Experian: Depending on the information obtained in discovery, Equifax and Experian
   2   may file motions for summary judgement on liability and/or damages. Experian further anticipates
   3
       filing motions in limine.
   4
       n.     Settlement/Alternative Dispute Resolution (ADR): The parties haven’t engaged in
   5
       settlement discussions. The parties select Local Rule 16-15.4 ADR Procedure No. 2, appearance
   6

   7   before a neutral from the Court Mediation Panel. ADR should occur no later than 90 days before

   8   the Final Pretrial Conference.

   9   o.     Trial Estimate: 2 to 3 days.
  10
       p.     Independent Expert or Master: None.
  11
       q.     Other issues: None.
  12
        DATED this 23rd day of July, 2019               Respectfully submitted,
  13
        FOR PLAINTIFF                                   FOR DEFENDANT
  14    JOANN K. MURRAY                                 DISCOVER FINANCIAL SERVICES
  15    /s/ Joseph S. Davidson                          /s/ Ali Fesharaki
  16    Joseph S. Davidson                              Ali Fesharaki
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  20                                                    FOR DEFENDANT
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                                                        EXPERIAN INFORMATION SOLUTIONS INC.
  27

  28                                                    /s/ Jennifer Sun

                                                       7
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